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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

 UNITED STATES OF AMERICA

       v.                                           CASE NO. 5:24-cr-125-TPB-PRL

 GIRISH SUBBURAMAN


    GOVERNMENT’S UNOPPOSED MOTION FOR EXTENSION OF TIME
           TO COMPLETE COMPETENCY EVALUATION

       Pursuant to Federal Rule of Criminal Procedure 45(b), the United States of

 America, by Gregory W. Kehoe, United States Attorney for the Middle District of

 Florida, respectfully requests a 30-day extension of time for Defendant’s competency

 examination to be completed, and states as follows.

                         PROCEDURAL BACKGROUND

       1.     On October 22, 2024, a federal grand jury returned an Indictment

 charging Defendant, in the Middle District of Florida, with one count of cyberstalking,

 in violation of 18 U.S.C. § 2261A(2)(B) and 2261(b)(5). Doc. 1.

       2.     On November 20, 2024, Defendant—who resides in San Diego,

 California—made his initial appearance in the Southern District of California under

 Federal Rule of Criminal Procedure 5(c)(3). See SDCA Case No. 3:24-mj-4383-AHG

 (Doc. 4). A detention hearing was held on the same day, and Defendant was released

 on bond. Id. Defendant was later arraigned in the Middle District of Florida on

 December 4, 2024. Doc. 14.
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       3.     Thereafter, Defendant retained Joshua Feder, M.D., to conduct two

 psychiatric evaluations, one on March 6, 2025, and one on April 10, 2025. The March

 2025 evaluation was not conducted specifically for competency purposes, but Dr.

 Feder raised concerns about whether Defendant could effectively participate in his

 own defense. See Doc. S-40 at 13 (March 2025 evaluation report). Given these

 concerns, Dr. Feder conducted another evaluation in April 2025 and opined that

 Defendant was incompetent. See Doc. S-40-1 at 8, 16 (April 2025 evaluation report).

       4.     On May 18, 2025, Defendant filed a Motion for Determination of

 Competency, relying on Dr. Feder’s evaluation reports. Doc. 31.

       5.     On May 21 and 22, 2025, the Court held hearings on the motion. Docs.

 37, 42. The Government requested that a competency examination be conducted

 pursuant to 18 U.S.C. § 4241(b). Doc. 37. The Court addressed the possibility of an

 outpatient examination in San Diego and directed the Government, in relevant part,

 to recommend an examiner by May 30, 2025. Doc. 42.

       6.     On May 30, 2025, the Court held a hearing at which the undersigned

 recommended that the Court designate Matthew F. Carroll, M.D., to conduct the

 psychiatric examination in San Diego, California. Doc. 45. Defense counsel had no

 objection. Doc. 45.

       7.     The same day, the Court entered an Order granting the Government’s

 request for a § 4241(b) examination. Doc. 48. The Court directed that the examination

 be conducted by Dr. Carroll within 30 days of the date of the Order (i.e., June 30,


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 2025). Doc. 48 at 2. The Court observed that “[r]easonable extensions of time may be

 permitted subject to a showing of good cause.” Doc. 48 at 2. As noted in the Order,

 the Government is responsible for paying the costs of the competency examination.

 Doc. 48 at 2.

                                  LEGAL STANDARD

       Pursuant to 18 U.S.C. § 4241, counsel for the defendant or the government may

 file a motion for a hearing to determine the defendant’s competency. See 18 U.S.C.

 § 4241(a). The Court must grant the motion and hold a hearing “if there is reasonable

 cause to believe that the defendant may presently be suffering from a mental disease

 or defect rendering him mentally incompetent to the extent that he is unable to

 understand the nature and consequences of the proceedings against him or to assist

 properly in his defense.” Id.

       Prior to the hearing, the Court may order a psychiatric examination of the

 defendant under § 4241(b). If such an examination is ordered, the examiner must

 prepare and file a psychiatric report containing the relevant information set forth in

 § 4247(c), including the defendant’s history and symptoms, the tests conducted, and

 the examiner’s findings and opinions as to whether the defendant is incompetent. See

 18 U.S.C. §§ 4241(b), 4247(c).

       For purposes of the examination, “the court may commit the person to be

 examined for a reasonable period, but not to exceed thirty days, . . . to the custody of

 the Attorney General for placement in a suitable facility.” 18 U.S.C. § 4247(b)


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 (emphasis added). “The director of the facility may apply for a reasonable extension,

 but not to exceed fifteen days, . . . upon a showing of good cause that the additional

 time is necessary to observe and evaluate the defendant.” Id. Alternatively, the Court

 may order that the examination be conducted on an outpatient basis. See In re

 Newchurch, 807 F.2d 404, 410 (5th Cir. 1986) (“Read in context, the statutory language

 commands the district court to order an examination but permits it either to commit

 the defendant to the custody of the Attorney General for that purpose or to order that

 the examination be made in some other manner.”).

                               REASONS FOR EXTENSION

        Before Dr. Carroll could start reviewing case materials and conduct the

 examination, the undersigned had to first obtain authorization for the expenditure of

 funds, which took approximately two weeks. Once the funds were authorized, the

 undersigned and defense counsel compiled case materials for Dr. Carroll’s review.

 These materials, which Dr. Carroll received last week, are extensive. They include

 recordings of interviews, as well as the 58 documents listed on Dr. Feder’s reports.

 Defendant’s examination is tentatively scheduled for July 8, 2025.

        Dr. Carroll has requested an additional 30 days to conduct the examination and

 file his report. 1 Defense counsel has no objection to the requested extension. Based on


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   Although § 4247(b) does not allow extensions of more than 15 days, the language of the
 statute makes clear that this time limitation applies only to the time a defendant spends in the
 custody of the Attorney General. See generally 18 U.S.C. § 4247(b) (“[T]he court may commit
 the person to be examined for a reasonable period, but not to exceed thirty days[.] . . . The
 director of the facility may apply for a reasonable extension, but not to exceed fifteen days.”).

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 the foregoing circumstances, the undersigned believes there is good cause for the

 requested extension.

       WHEREFORE, the undersigned respectfully moves the Court to extend the

 time for Dr. Carroll to conduct a § 4241(b) psychiatric examination to July 30, 2025.



                                                             Respectfully submitted,

                                                             GREGORY W. KEHOE
                                                             United States Attorney



                                  By:   _______________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ __ ________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ __




                                              Belkis H. Callaos
                                              Assistant United States Attorney
                                              Florida Bar # 1004413
                                              35 SE 1st Avenue, Suite 300
                                              Ocala, Florida 34471
                                              Telephone: (352) 547-3600
                                              Facsimile: (352) 547-3623
                                              E-mail: belkis.callaos@usdoj.gov




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                             CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2025, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to the following:

        Kerry Armstrong, Esquire




                                       By:   _______________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ __ ________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ __




                                                   Belkis H. Callaos
                                                   Assistant United States Attorney
                                                   Florida Bar # 1004413
                                                   35 SE 1st Avenue, Suite 300
                                                   Ocala, Florida 34471
                                                   Telephone: (352) 547-3600
                                                   Facsimile: (352) 547-3623
                                                   E-mail: belkis.callaos@usdoj.gov
